Case 2:03-cv-02115-SHI\/|-dkv Document 140 Filed 08/29/05 Page 1 of 4 Page|D 139

 

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JOHN oouGHERTY
Piaintiff,
vs. Case No. 03-2115-Ma V
FAuLKNER's AuTo BoDY
cENTER, iNc., &
RoNALD coLEiviAN,
Defendants.

 

CONSENT ORDER OF DISMISSAL WlTH PREJUD|CE

 

lt appears to the Court, as evidenced by the signature of counsel hereto, that all
matters and things in controversy have been compromised and settled, and that this
entire cause should be dismissed With prejudice

lT |S THEREFORE ORDERED, ADJUDGED AND DECREED that this entire

cause be and is hereby dismissed with prejudice Each party shall pay its own costs of

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SAMUEL H. |V|AYS, Jr.
United States District Judge

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any kind or nature.

 

DATE :

 

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With Ru!e 58 and/or ?Ziiai FHLP on 2 12 Qi

Case 2:03-cv-02115-SHI\/|-dkv Document 140 Filed 08/29/05 Page 2 of 4 Page|D 140

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iV|:\DATA\WARREN\A-G\Coleman v. Dougheny\Order of Dismissai with Prejudice new.fn"n

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 140 in
case 2:03-CV-02115 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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US DISTRICT COURT

